ADIG3208. 1.2-5

Case 17-33936 Document 107 Filed in TXSB on 08/29/24 Page 1 of 6

CASE NO. 17-33936-H4-13

IN RE: David Gorona, United States Courts
Southern District of Texas

FILED

AUG 2 9 2024

Nathan Ochsner, Clerk of Court

18193208.1.3-5

Case 17-33936 Document 107 Filed in TXSB on 08/29/24 Page 2 of 6

CAUSE NO.
H. Nathaniel Sapp § INTHE DISTRICT COURT OF
and Gladys Sapp §
§
v. § FORT BEND COUNTY, TEXAS
§
Troy Patrick Mouton, §
Manuel Garcia Ledesma, §
Jared Doe, and Samuel L. Milledge § JUDICIAL DISTRICT

DECLARATION OF GLADYS SAPP

I am the wife of H. Nathaniel Sapp, over whom I hold statutory power of attorney,
including for transactions involving real estate.

In or before May 2024, I began working with a real estate agent named Jared with the aim
of selling the home located at 506 Compton St, Rosharon TX 77583. Said home is one of two
homes owned at the time by myself and my husband, the other being our primary residence of
7297 Murciana Drive, Rosharon, Texas 77583. Both homes were financed through VA loans. The
purpose. of my selling the home on Compton St was to pay for my husband’s medical expenses.

The real estate agent, Jared, whose last name I do not know, told me that I was “upside
down” on the VA loan, and for this reason he would not be able to assist me in the sale of the
home. Jared informed me, however, that he knew of a certain Troy Mouton who may be able to
assist me. Jared told me that he had seen Mr. Mouton provide satisfactory assistance to debtors in
similar situations and that Mr. Mouton was a trustworthy person.

After being placed in contact with Mr. Mouton through Jared, Mr. Mouton explained that
he was very interested in taking the home off my hands and relieving me of the mortgage payment
obligations. Mr. Mouton offered to pay me $10,000 in cash and to assume the VA-backed loan

secured by the home on Compston St. Mr, Mouton told me that the mortgage was assumable.

Sapp v. Mouton
Declaration of Gladys Sapp Page 1 of 3

Doc ID: f1d82ebe96ba6d910017ad03d71711eeb44e6fab

10183208, 4-5

Case 17-33936 Document 107 Filed in TXSB on 08/29/24 Page 3 of 6

Mr. Mouton tried to get me to sign the warranty deed at my home, but I was hesitant. My
son advised me against moving forward with Mr. Mouton because he was a fast talker. 1 was
reluctant to proceed, but ultimately gave in to the pressure presented by my dire financial situation,
which Mr. Mouton took advantage of. I insisted that the closing occur at a title company, and Mr.
Mouton arranged for it to be occur at The Milledge Law Group, P.C., 1235 North Loop West Ste
725, Houston TX 77008, and led me to believe that this was a title company.

Mr. Mouton never provided me with any sort of written disclosure related to his
involvement in the real estate transaction or assumption of the mortgage.

On or about May 20, 2024, at the law office of Samuel L. Milledge, The Milledge Law
Group, P.C., 1235 North Loop West Ste 725, Houston TX 77008, I signed a document styled
“Warranty Deed (With Vendor’s Lien)”, which purports to have been prepared by The Milledge
Law Group, P.C. I signed in my individual capacity and on behalf of H. Nathaniel Sapp pursuant
to a statutory power of attorney.

While at what I believed to be the closing at The Milledge Law Group, I asked Samuel L.
Milledge, whom I believed to be a representative of the title company, what would happen if Mr.
Mouton missed a payment toward the loan secured by the Subject Property, and Samuel L.
Milledge uttered words to the effect that Mr. Mouton “would never do a thing like that,” thus
emboldening my mistaken belief that Mr. Mouton was a trustworthy person. Mr. Milledge did not
disclose to me that he had defended Mr. Mouton in multiple lawsuits involving allegations of fraud
and other misconduct in real estate transactions.

In connection with the aforementioned transaction, I received a check in the amount of
$10,000 from Mr. Mouton. Mr. Mouton tendered payment of the $10,000 approximately 10 days

earlier, at my home, but I did not cash the check until after what I believed to be the closing at

Sapp v. Mouton
Declaration of Gladys Sapp Page 2 of 3

Doc ID: f1d82ebe96ba6d910017ad03d7 171 1eeb44e6fab

10403208.4 4-5

Case 17-33936 Document 107 Filed in TXSB on 08/29/24 Page 4 of 6

Milledge Law Group. In addition, Mr. Mouton tendered payment for at least one monthly
installment of the loan secured by the home on Compton St. Thereafter, Mr. Mouton ceased
making payments toward the loan secured by the home on Compton St.

Thereafter, Mr. Mouton ceased making payments toward the loan secured by the home on
Compton St and I began receiving notifications from the lender or loan servicing company about
missed payments. Since then, I have had no choice but to resume payments on the loan secured by
the home on Compton St, even though I have been left without any enjoyment whatsoever of the
property.

In addition, I have received notices from the Homeowners’ Association of the subdivision
where the home on Compton St is located indicating that the grass has not been cut since May
2024.

Subsequent to July 22, 2024, I have visited the home on Compton St, where I discovered
that the place is apparently being used as an Airbnb rental. On August 26, 2024, I visited the
property in an attempt to ascertain the identity of the occupant in anticipation of filing an eviction
suit. On this occasion, I found a notice on the door posted by Five Brothers Asset Management
Solutions indicating that the property had been deemed to be abandoned and that the locks would
soon be changed.

Executed in Fort Bend County, State of Texas, on the following date: 08 / 26 / 2024

Tey Say?

Declarant

Sapp v. Mouton
Declaration of Gladys Sapp Page 3 of 3

Doc ID: f1d82ebe96ba6d910017ad03d71711eeb44e6fab
10193208.1.5-5

Case 17-33936 Document 107 Filed in TXSB on 08/29/24 Page 5 of 6

>< Dropbox Sign

Audit trail

Title

Fite name

Document ID

Audit trail date format

Status

20240826 Declaration of Gladys Sapp
20240826 Declaration of Gladys Sapp.pdf
f1d82ebe96ba6d910017ad03d71711eeb44e6fab
MM /DD/YYYY

® Signed

Document History

CG 08 / 26 / 2024
SENT 14:16:33 UTC-4
® 08 / 26/2024
VIEWED 18:37:06 UTC-4
je 08 / 26 / 2024
SIGNED 18:51:31 UTC-4
G 08 / 26 / 2024
COMPLETED 18:51:31 UTC-4

Sent for signature to Gladys Sapp (chrisssapp@yahoo.com)
from kyle@kjm.law
IP: 162.125.3158

Viewed by Gladys Sapp (chrisssapp@yahoo.com)
IP: §7.132.174.241

Signed by Gladys Sapp (chrisssapp@yahoo.com)
IP: 57.132.174.241

The document has been completed.

Powered by $e Dropbox Sign

{07832081 A feix95

Case 17-33936 Document 107 Filed in TXSB on 08/29/24 Page 6 of 6

ORIGIN ID:SCFA ne 221-9006
THE LAW OFFICE OF J, MOGRE, PL

25211 GROGANS MILL RD STE 130

SPRING, TX 77380
UNITED STATES US

To UNITED STATES COURTHOUSE
ATTN: BANKRUPTCY COURT S.D. TEX.
515 RUSK AVENUE

SHIP DATE: 27AUG24
ACTWGT: 0.10 LB
CAD: 254303 705/(WVSx13200

BILL SENDER

SO3G/A12D9AE3

HOUSTON TX 77002
(417) 224-9008 REF: 4
Nv. 10198208 err

A

It
I it

ah

AK

ae

PAWS] bd MY PLP PACA

THU + 29 AUG 5:00P

2787 5931 1672 ** ODAY *

77002

SS EIXA nus TAR

MT

153201
2001

bis

